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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________

MICHAEL ROBERTS, GEORGE ROBERTS and
SHIRLE ROBERTS,

                                    Plaintiffs,
      v.                                                   Civil Action No. ___________

MERCANTILE ADJUSTMENT BUREAU, LLC,

                              Defendant.
________________________________________

                    COMPLAINT AND DEMAND FOR JURY TRIAL

                                    I. INTRODUCTION

   1. This is an action for actual and statutory damages brought in response to Defendant’s
      violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
      "FDCPA") which prohibits debt collectors from engaging in abusive, deceptive, and
      unfair practices.

                                 II. JURISDICTION AND VENUE

   2. Jurisdiction of this court arises under 15 U.S.C. §1692k(d), 28 U.S.C. § 1331, and 28
      U.S.C. § 1337.

   3. Venue is proper in this district under 28 U.S.C. §1391(b) in that the Defendant transacts
      business here and the conduct complained of occurred here.

                                          III. PARTIES

   4. Plaintiff, Michael Roberts, is a natural person residing in the County of Erie and State of
      New York and is a “consumer” as that term is defined by 15 U.S.C. §1692a(3).

   5. Plaintiff, George Roberts, is a natural person residing in the County of Erie and State of
      New York and is a “consumer” as that term is defined by 15 U.S.C. §1692a(3).

   6. Plaintiff, Shirle Roberts, is a natural person residing in the County of Erie and State of
      New York and is a “consumer” as that term is defined by 15 U.S.C. §1692a(3).

   7. That Plaintiffs, George and Shirle Roberts, are the grandparents of Plaintiff, Michael
      Roberts.




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8. Defendant, Mercantile Adjustment Bureau, LLC, is a domestic business corporation
   organized and existing under the laws of the State of New York and is a “debt collector”
   as that term is defined by 15 U.S.C. §1692a(6).

9. That at all times relevant herein, Plaintiffs were and are “persons” as defined by 47
   U.S.C.§153(32).

10. That Defendant, at all times relevant herein, owned, operated and/or controlled “customer
    premises equipment” as defined by 47 U.S.C.§153(14), that originated, routed, and/or
    terminated telecommunications.

11. That at all times relevant herein, Defendant has used the United States mail service,
    telephone, telegram and other instrumentalities of interstate and intrastate commerce to
    attempt to collect consumer debt allegedly owed to another.

12. That Defendant, at all times relevant herein, engaged in “interstate communications” as
    that term is defined by 47 U.S.C.§153(22).

13. That Defendant, at all times relevant herein, engaged in “telecommunications” as defined
    by 47 U.S.C.§153(43).

14. That Defendant, at all times relevant herein, used, controlled and/or operated “wire
    communications” as defined by TCPA, 47 U.S.C.§153(52), that existed as
    instrumentalities of interstate and intrastate commerce.

15. That Defendant, at all relevant times herein, used, controlled and/or operated “automatic
    telephone dialing systems” as defined by TCPA, 47 U.S.C.§227(a)(1) and 47 C.F.R.
    64.1200(f)(1).

16. Defendant regularly attempts to collect debts alleged to be due another.

17. The acts of the Defendant alleged hereinafter were performed by its employees acting
    within the scope of their actual or apparent authority.

18. All references to “Defendant” herein shall mean the Defendant or an employee of the
    Defendant.

                           IV. FACTUAL ALLEGATIONS

19. That Plaintiff Michael Roberts incurred a student loan debt to Sallie Mae. This debt will
    be referred to as “the subject debt.”

20. That the subject debt arose out of a transaction in which money, services or property,
    which was the subject of the transaction, was primarily for personal, family and/or
    household purposes. As such, said debt is a “debt” as that term is defined by 15 U.S.C.
    §1692a(5).



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21. That Plaintiff Michael Roberts thereafter defaulted on the subject debt.

22. That upon information and belief Defendant was employed by Sallie Mae to collect on
    the subject debt.

23. That in or about 2010, Defendant began calling Plaintiff Michael Roberts multiple times
    per week, often multiple times per day, in an attempt to collect on the subject debt.

24. That in or about 2010, Defendant began calling Plaintiffs George Roberts and Shirle
    Roberts multiple times per week, often multiple times per day, in an attempt to collect on
    the subject debt.

25. That Plaintiff’s George and Shirle Roberts both had multiple conversations with the
    Defendant in which they stated to the Defendant that Michael Roberts did not live with
    them and to stop calling them. That despite the Plaintiff’s repeated requests, Defendant
    continued to call the Plaintiffs George and Shirle Roberts at their home.

26. That Defendant on multiple occasions asked Plaintiffs George and Shirle Roberts to pass
    a message to their grandson Michael Roberts that Defendant was calling for him and
    would like him to call them back. That the latest of these requests occurred in or about
    fall of 2012.

27. That Defendant would leave messages on Plaintiffs George and Shirle Roberts’ home
    phone’s answering machine stating that they were debt collectors and that they were
    calling to collect a debt from Michael Roberts. That the Defendant has left such a
    message multiple times including as late as November 2012.

28. That during the first of these aforementioned calls, Plaintiff, Michael Roberts, informed
    Defendant that they should stop calling his grandparents, George and Shirle Roberts.
    That despite Plaintiff Michael Roberts request, Defendant continued to call Plaintiffs
    George and Shirle Roberts.

29. That as a result of Defendant’s acts Plaintiff became nervous, upset, anxious, and
    suffered from emotional distress.


                                   V. COUNT ONE
                           (Fair Debt Collection Practices Act
                              and 15 U.S.C. §1692 et seq.)

30. Plaintiffs repeat, re-allege and incorporates by reference the allegations contained in
    paragraphs 1 through 29 above.

31. The conduct of Defendant as described in this complaint violated the Fair Debt
    Collection Practices Act (15 U.S.C. §1692 et seq.) as follows:



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       A. Defendant violated 15 U.S.C. §1692b(1) and 15 U.S.C. §1692b(2) by contacting
          the Plaintiff Michael Roberts’ grandparents and disclosing Plaintiff’s debt to them
          and by calling them other than for location information for the alleged debtor.

       B. Defendant violated 15 U.S.C. §1692d and 15 U.S.C. §1692d(5) by repeatedly
          causing Plaintiffs’ telephone to ring with the intent to annoy, abuse or harass.

       C. Defendant violated 15 U.S.C. §1692e and 15 U.S.C. §1692e(11) by requesting
          that Plaintiffs George and Shirle Roberts pass a message to Plaintiff Michael
          Roberts that Defendant called looking for him and wanted him to call them back.

       D. Defendant violated 15 U.S.C. §1692g by failing to send Plaintiff Michael Roberts
          a 30-day validation notice within five days of the initial communication.

32. That as a result of the Defendant’s FDCPA violations as alleged herein, Plaintiffs became
    nervous, upset, anxious and suffered from emotional distress.

                                  VI. COUNT TWO
                      (Telephone Consumer Protection Act of 1991
                             and 47 C.F.R.64.1200, et seq.)

29. Plaintiffs repeat, reallege and incorporates by reference the preceding and succeeding
    paragraphs in this complaint as if each of them was reprinted herein below.

30. The Defendant at all times material and relevant hereto, unfairly, unlawfully,
    intentionally, deceptively and/or fraudulently violated the TCPA, 47 U.S.C.§227, et seq.
    and 47 C.F.R.14.1200, et seq. and TCPA, 47 U.S.C.§227(b)(1)(A)(iii) by initiating
    telephone calls to Plaintiff Michael Roberts’ cellular telephone using an automated
    telephone dialing system and/or using an artificial and/or prerecorded voice to deliver
    messages without having the consent of Plaintiff to leave such messages and/or after
    Plaintiff revoked said consent.

31. The acts and/or omissions of the Defendant at all times material and relevant hereto, as
    described in this Complaint, were done unfairly, unlawfully, intentionally, deceptively
    and fraudulently and absent bona fide error, lawful right, legal defense, legal justification
    or legal excuse.

32. The acts and/or omissions of the Defendant at all times material and relevant hereto, as
    described in this Complaint, were not acted or omitted pursuant to 47
    C.F.R.§64.1200(f)(2).

33. As a causally-direct and legally proximate result of the above violations of the TCPA, the
    Defendant at all times material and relevant hereto, as described in this Complaint,
    caused the Plaintiff to sustain damages as a result of their innumerable telephone calls




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       that harassed, annoyed and abused Plaintiff, and disturbed her peace and tranquility at
       home and elsewhere.

   34. As a causally-direct and legally proximate result of the above violations of the TCPA, the
       Defendant at all times material and relevant hereto, as described in this Complaint,
       caused the Plaintiff to sustain damages and experience severe emotional distress.

   35. As a causally-direct and legally proximate result of the above violations of the TCPA, the
       Defendant at all times material and relevant hereto, as described in this Complaint, is
       liable to actual damages, statutory damages, treble damages, and costs and attorney fees.

   36. Plaintiffs received multiple telephone calls from an automatic telephone dialing system
       and/or an artificial and/or prerecorded voice entitling Plaintiff to Five Hundred Dollars
       and No Cents ($500.00) for each artificial and/or prerecorded telephone call pursuant to
       the TCPA, 47 U.S.C.§227(b)(3)(B).

   37. The Defendant caused said telephone calls of an artificial and/or prerecorded nature to be
       placed willfully and/or knowingly entitling each Plaintiff to a maximum of treble
       damages, pursuant to TCPA, 47 U.S.C.§227(b)(3).


WHEREFORE, Plaintiff respectfully requests that judgment be entered against the Defendant
for:

       (a) Actual damages;

       (b) Statutory damages for pursuant to 15 U.S.C. § 1692k.

       (c) Costs, disbursements and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k.

       (d) For such other and further relief as may be just and proper.




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                                    VI. JURY DEMAND

             Please take notice that Plaintiff demands trial by jury in this action.

Dated: November 14, 2012



                                                             /s/ Seth J. Andrews_____________
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